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                                                            LEIBEL                                  LAW
                                                                 STEVEN LEIBEL, P.C.
     3619 S. Cheslatee                                                     WWM’.leibel.com                              Phone: (404) 892-0700
     Dahlonega, GA 30533                                                                                                  Fax: (770) 844-0015


                                                                             July 25, 2023


            VIA     USPS         PRIORITY          MAIL
            CERTIFIED              MAIL
            RETURN           RECEIPT             REQUESTED
            Tr a c k i n g N o . 9 4 0 2 7 11 2 0 6 2 0 9 8 5 5 1 9 3 7 5 0


            Ms. Pam Godbcc
            Central Insurance Companies
            P. O . B o x 3 5 3
            Van Wert, OH 45891-9938

                         RE:        Your Policyholder:                 Nathan Sheets
                                    Claim Number:                      1000419640

                                    Policy Number:                     FMA 3627637
                                    Incident Date:                     03/26/2022
                                    Our Client:                        Elliott Wedde, deceased

            Dear Ms. Godbcc:


                       As you know we represent the Wedde family where your insured, Kenneth and Angela
            Sheets, negligently entrusted Nathan with avehicle which resulted in the death of my clients’ son,
            Elliott.


                       You are familiar with our requests for coverage and your failure to con rm denial of
            coverage.


                       Please accept this letter as ademand for policy limits of $250,000 for the wrongful death
            of Elliott and the $10,000 of medical payments on the policy. This offer will remain open for 30
            days from your receipt of this certi ed letter. This offer is, of course, contingent on alimited
            liability release so as not to preclude any additional coverage that may be applied to resolving this
            tragedy.

                                                                                  Best regards.

                                                                                  STEVEN LEIBEL, P.C.




                                                                                  Stc
            SKE/bjp
                                                                     STEVEN LEIBEL, P.C.                          EXHIBIT
                                                           D A H L O N E G A ● G U M M I N G ● AT L A N TA

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